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   OF HAWAII, INC. and ROMMEL GUZMAN

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada               )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company, et al.         )
                                            )   CERTIFICATE OF SERVICE
                      Plaintiffs,           )
                                            )
           vs.                              )
                                            )
  ABNER GAURINO, et al.                     )
                                            )
                      Defendants.           )
                                            )

                             CERTIFICATE OF SERVICE

           The undersigned hereby certifies that service of a copy of DEFENDANTS

  FIDELITY NATIONAL TITLE & ESCROW OF HAWAII, INC. AND

  2036385 v1
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  ROMMEL GUZMAN’S RESPONSE TO PLAINTIFFS ATOOI ALOHA, LLC,

  CRAIG B. STANLEY AS TRUSTEE FOR THE EDMON KELLER AND

  CLEAVETTE MAE STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND

  MILLICENT ANDRADE’S FIRST REQUESTS FOR PRODUCTION OF

  DOCUMENTS TO DEFENDANTS FIDELITY NATIONAL TITLE & ESCROW

  OF HAWAII AND ROMMEL GUZMAN, DATED 8/11/17, dated September 15,

  2017, will be duly served on this date on the following parties by United States

  mail, postage prepaid:

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           DATED: Honolulu, Hawaii; September 15, 2017.



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